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                                         AIR & LIQUID SYSTEMS CORPORATION,
                                     8   successor by merger to BUFFALO
                                         PUMPS, INC.
                                     9                      UNITED STATES DISTRICT COURT
                                    10                     CENTRAL DISTRICT OF CALIFORNIA
                                    11
                                         TERRY LEE SIEGFRIED and TERRI                  Case No. 2:18-cv-01575-CAS-E
                                    12   SIEGFRIED,
633 West Fifth Street, 52nd Floor




                                                                                        Los Angeles Superior Court
                                    13                                                  Case No. BC691900
    Los Angeles, CA 90071
     Gordon & Rees LLP




                                                                 Plaintiffs,
                                    14                                                  AIR & LIQUID SYSTEMS
                                                     v.                                 CORPORATION,
                                    15                                                  SUCCESSOR BY MERGER
                                                                                        TO BUFFALO PUMPS,
                                    16   3M COMPANY (f/k/a MINNESOTA                    INC.’S (“BUFFALO”)
                                         MINING & MANUFACTURING                         JOINDER IN ELLIOTT CO.’S
                                    17   COMPANY); AIR & LIQUID SYSTEMS                 NOTICE OF REMOVAL OF
                                         CORPORATION (sued individually and             ACTION PURSUANT TO 28
                                    18   as successor-in-interest to BUFFALO            U.S.C. SECTIONS 1442(a)(1)
                                         PUMPS, INC.; ABB, INC. individually            AND 1446(a) AND NOTICE
                                    19   and as successor-in-interest to ITE            OF REMOVAL OF
                                         IMPERIAL CO f/k/a ITE CIRCUIT                  BUFFALO; EXHIBITS 1-8;
                                    20   BREAKER COMPANY); ALFA LAVAL                   CERTIFICATE OF SERVICE
                                         INC. (sued individually and as successor-in-
                                    21   interest to THE DELAVAL SEPARATOR
                                         COMPANY and SHARPLES
                                    22   CORPORATION); ATWOOD &
                                         MORRILL CO., INC., d/b/a WEIR
                                    23   VALVES & CONTROLS USA, INC.;
                                         AURORA PUMP COMPANY; A.O.
                                    24   SMITH CORP., BACOU-DALLOZ USA,
                                         INC. (sued as successor-in-interest and/or
                                    25   f/k/a W.G.M. SAFETY PRODUCTS d/b/a
                                         WILLSON SAFETY PRODUCTS);
                                    26   CARRIER CORPORATION; CARVER
                                         PUMP COMPANY; CBS
                                    27   CORPORATION (a Delaware Corporation)
                                         f/k/a VIACOM, INC., as successor-by-
                                    28   merger to CBS CORPORATION (a
                                         Pennsylvania Corporation) f/k/a
                                                                                -1-
                                         AIR & LIQUID SYSTEMS CORPORATION, SUCCESSOR BY MERGER TO BUFFALO PUMPS, INC.’S
                                                 (“BUFFALO”) JOINDER IN ELLIOTT CO.’S NOTICE OF REMOVAL OF ACTION
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                                     1   WESTINGHOUSE ELECTRIC
                                         CORPORATION, and also as
                                     2   successor-in-interest to BF
                                         STURTEVANT; CLA-VAL CO.;
                                     3   CLEAVER-BROOKS, INC. (sued
                                         individually and as successor-in-interest to
                                     4   DAVIS ENGINEERING COMPANY
                                         formerly known as AQUA-CHEM, INC.
                                     5   doing business as CLEAVER-BROOKS
                                         DIVISION); COOPER WIRING
                                     6   DEVICES, a division of COOPER
                                         INDUSTRIES (individually and as
                                     7   successor-in-interest to ARROW-HART &
                                         HEGEMAN, INC.); COPES-VULCAN,
                                     8   INC.; CRANE CO. (sued individually
                                         and as successor-in-interest to
                                     9   COCHRANE CORPORATION;
                                         CHAPMAN VALVE COMPANY and
                                    10   JENKINS VALVES); CRANE
                                         ENVIRONMENTAL, INC. (sued
                                    11   individually and as successor-in-interest to
                                         COCHRANE CORPORATION); EATON
                                    12   CORPORATION (sued individually and
633 West Fifth Street, 52nd Floor




                                         as successor-in-interest to
                                    13   CUTLERHAMMER INC.); EATON
    Los Angeles, CA 90071
     Gordon & Rees LLP




                                         ELECTRICAL, INC. (sued individually
                                    14   and as successor-in-interest to
                                         CUTLERHAMMER INC.); ELLIOT
                                    15   TURBOMACHINERY COMPANY a/k/a
                                         ELLIOTT COMPANY; EMERSON
                                    16   ELECTRIC CO. (individually and as
                                         successor-in-interest to KEYSTONE
                                    17   VALVES AND CONTROLS, INC.);
                                         FISHER CONTROLS INTERNATIONAL
                                    18   LLC f/k/a FISHER GOVERNOR
                                         COMPANY; FMC CORPORATION (sued
                                    19   individually and as successor-in-interest to
                                         NORTHERN PUMP COMPANY and
                                    20   PEERLESS PUMP COMPANY); FOSTER
                                         WHEELER ENERGY CORPORATION;
                                    21   FRASER BOILER SERVICE, INC.;
                                         GARDNER-DENVER, INC.; GENERAL
                                    22   DYNAMICS CORPORATION
                                         (successor-in-interest to BATH IRON
                                    23   WORKS LTD. f/k/a THE HYDE
                                         WINDLASS COMPANY); GENERAL
                                    24   ELECTRIC COMPANY (individually
                                         and as successor-in-interest to
                                    25   MASONEILAN, and MANNING,
                                         MAXWELL & MOORE, INC.); GIBBS
                                    26   & COX, INC.; THE GORMAN-RUPP
                                         COMPANY (individually and as
                                    27   successor-in-interest to PATTERSON
                                         PUMP COMPANY, and C.H.
                                    28   WHEELER); GOULDS ELECTRONICS
                                         (as successor-in-interest to THE CIRCUIT
                                                                               -2-
                                         AIR & LIQUID SYSTEMS CORPORATION, SUCCESSOR BY MERGER TO BUFFALO PUMPS, INC.’S
                                                 (“BUFFALO”) JOINDER IN ELLIOTT CO.’S NOTICE OF REMOVAL OF ACTION
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                                     1   BREAKER CO.); GOULDS PUMPS, INC.;
                                         HARDIE-TYNES CO., INC. (sued
                                     2   individually and as successor-in-interest
                                         to HARDIE-TYNES MANUFACTURING
                                     3   CO. and HARDIE-TYNES
                                         MANUFACTURING
                                     4   COMPANY); HARDIE-TYNES
                                         FOUNDRY & MACHINE CO. (sued
                                     5   individually and as successor-in-interest
                                         to HARDIE-TYNES MANUFACTURING
                                     6   CO. and HARDIE-TYNES
                                         MANUFACTURING COMPANY);
                                     7   HARDIE-TYNES, LLC (sued individually
                                         and as successor-in-interest to HARDIE-
                                     8   TYNES MANUFACTURING CO. and
                                         HARDIETYNES MANUFACTURING
                                     9   COMPANY); HERCULES
                                         MANUFACTURING COMPANY,
                                    10   INC.; HOWDEN NORTH AMERICA,
                                         INC. f/k/a HOWDEN BUFFALO, INC.
                                    11   (individually and as successor-in-interest
                                         to BUFFALO FORGE COMPANY);
                                    12   IMO INDUSTRIES, INC. (sued
633 West Fifth Street, 52nd Floor




                                         individually and as successor-in-interest
                                    13   to DELAVAL TURBINE, INC.);
    Los Angeles, CA 90071
     Gordon & Rees LLP




                                         INGERSOLL-RAND COMPANY
                                    14   (individually and as successor-in-interest
                                         to TERRY STEAM TURBINE); ITT
                                    15   INDUSTRIES, INC. (sued individually
                                         and as successor-in-interest to BELL &
                                    16   GOSSETT, FOSTER ENGINEERING
                                         and HOFFMAN SPECIALTY); KERR
                                    17   MACHINERY CO. n/k/a KERR PUMP
                                         & SUPPLY INC.; LAWLER
                                    18   MANUFACTURING COMPANY,
                                         INC. f/k/a LAWLER AUTOMATIC
                                    19   CONTROLS, INC.; THE
                                         MARLEYWYLAIN COMPANY;
                                    20   MUELLER STEAM SPECIALITY
                                         COMPANY n/k/a WATTS WATER
                                    21   TECHNOLOGIES, INC.; THE NASH
                                         ENGINEERING COMPANY;
                                    22   OWENS-ILLINOIS, INC.; PPG
                                         INDUSTRIES, INC. (individually and as
                                    23   successor-in-interest to AKZO NOBEL
                                         INC., and DEVOE COATINGS);
                                    24   QUIMBY EQUIPMENT COMPANY;
                                         ROBERTSHAW CONTROLS
                                    25   COMPANY (individually and as
                                         successor-in-interest to FULTON
                                    26   SYLPHON COMPANY); ROCKWELL
                                         AUTOMATION INC. (individually and as
                                    27   successor by merger to ALLENBRADLEY
                                         COMPANY LLC and ROSTONE
                                    28   CORPORATION); ROSS OPERATING
                                         VALVE COMPANY d/b/a ROSS
                                                                              -3-
                                         AIR & LIQUID SYSTEMS CORPORATION, SUCCESSOR BY MERGER TO BUFFALO PUMPS, INC.’S
                                                 (“BUFFALO”) JOINDER IN ELLIOTT CO.’S NOTICE OF REMOVAL OF ACTION
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                                     1   CONTROLS; RSCC WIRE
                                         & CABLE, LLC.; SCHNEIDER
                                     2   ELECTRIC, USA, INC., f/k/a SQUARE
                                         D COMPANY; SIEMENS
                                     3   CORPORATION (individually and as
                                         successor-in-interest to ITE CIRCUIT
                                     4   BREAKER CO.); SIEMENS ENERGY
                                         INC. (individually and as successor by
                                     5   merger to DRESSER-RAND GROUP,
                                         INC.); SPIRAX SARCO, INC.; SPX
                                     6   CORPORATION (sued individually and
                                         as successor-in-interest to THE MARLEY
                                     7   COMPANY, WYLAIN, INC., WEIL
                                         McCLAIN, a division of WYLAIN, INC.,
                                     8   and WEIL-McCLAIN); STERLING
                                         FLUID SYSTEMS, (USA) LLC f/k/a
                                     9   PEERLESS PUMP COMPANY;
                                         SULZER PUMPS HOUSTON, INC.
                                    10   (sued individually and as successor-in
                                         interest to PACO PUMPS f/k/a PACIFIC
                                    11   PUMPING COMPANY); SUPERIOR-
                                         LIDGERWOOD-MUNDY
                                    12   (individually and as successor-in-interest to
633 West Fifth Street, 52nd Floor




                                         M.T. Davidson Co.); VELAN VALVE
                                    13   CORP.; VIAD CORP f/k/a THE DIAL
    Los Angeles, CA 90071
     Gordon & Rees LLP




                                         CORPORATION (sued individually and
                                    14   as successor-in-interest to GRISCOM-
                                         RUSSELL COMPANY); VIKING PUMP,
                                    15   INC., a Unit of IDEX Corporation;
                                         WARREN PUMPS, LLC
                                    16   (individually and as successor-in-interest
                                         to QUIMBY PUMP COMPANY); WEIL
                                    17   McCLAIN; WEIL-McCLAIN, a division of
                                         THE MARLEY COMPANY (sued
                                    18   individually and as successor-in-interest to
                                         WYLAIN CO.); WILO USA LLC
                                    19   (individually and as successor-in-interest to
                                         WElL PUMP COMPANY, INC.)
                                    20   WEIR VALVES & CONTROLS USA
                                         INC. f/k/a ATWOOD & MORRILL;
                                    21   THE WILLIAM POWELL
                                         COMPANY; and DOES 1-450, inclusive
                                    22
                                                                 Defendants.
                                    23
                                    24   JOINDER IN NOTICE OF REMOVAL OF CIVIL ACTION UNDER 28
                                    25   U.S.C. SECTIONS 1442 AND 1446 AND NOTICE OF REMOVAL
                                    26         The Notice of Removal filed by defendant ELLIOTT COMPANY (“Elliott
                                    27   Co.”). was appropriate with the same authorities and logic applying equally to AIR
                                    28   & LIQUID SYSTEMS CORPORATION, successor by merger to BUFFALO

                                                                                -4-
                                         AIR & LIQUID SYSTEMS CORPORATION, SUCCESSOR BY MERGER TO BUFFALO PUMPS, INC.’S
                                                 (“BUFFALO”) JOINDER IN ELLIOTT CO.’S NOTICE OF REMOVAL OF ACTION
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                                     1   PUMPS, INC. (“BUFFALO PUMPS”). Defendant BUFFALO PUMPS hereby
                                     2   joins and incorporates by reference as though fully set forth herein the points and
                                     3   authorities relied upon in defendant Elliott Co.’s Notice of Removal.
                                     4            Pursuant to 28 U.S.C. sections 1442 and 1446, defendant BUFFALO
                                     5   PUMPS has its own independent basis upon which to remove this action, originally
                                     6   filed in the Los Angeles County Superior Court and removed to the United States
                                     7   District Court Central District in Los Angeles on the following grounds:
                                     8            1.   Jurisdiction. This Court has subject matter jurisdiction over this case
                                     9   because the claims involve a person, BUFFALO PUMPS, acting under the
                                    10   authority of an officer or agency of the United States. 28 U.S.C. § 1442; Freiberg
                                    11   v. Swinerton & Walberg Property Services, Inc. 245 F.Supp.2d 1144, 1150 (2002).
                                    12            2.   Intradistrict Assignment. The claims are pending within the District
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                                    13   and the Division of this Court. Therefore, the claims should be assigned to this
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                                    14   Division.
                                    15            3.   Timeliness. This Notice of Removal is timely because it was filed
                                    16   within thirty (30) days of formal service of the Summons and Complaint upon
                                    17   BUFFALO PUMPS, consistent with the requirements of 28 U.S.C. section 1446(b)
                                    18   and Rule 6 of the Federal Rules of Civil Procedure.
                                    19            4    Background. On or about January 26, 2018, plaintiffs Terry Lee
                                    20   Siegfried and Terri Siegfried filed a Complaint against approximately 60
                                    21   defendants, including BUFFALO PUMPS, in the Los Angeles County Superior
                                    22   Court.
                                    23            5.   In the Complaint, plaintiffs allege that Terry Lee Siegfried was
                                    24   exposed to asbestos containing products manufactured by a number of defendants,
                                    25   including BUFFALO PUMPS, while working at and Long Beach Naval Shipyard
                                    26   from 1969-1996. (A true and correct copy of the Summons and Complaint is
                                    27   attached as Exhibit 1 to this Notice of Removal.)
                                    28            6.   Any equipment manufactured by BUFFALO PUMPS to be used

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                                         AIR & LIQUID SYSTEMS CORPORATION, SUCCESSOR BY MERGER TO BUFFALO PUMPS, INC.’S
                                                 (“BUFFALO”) JOINDER IN ELLIOTT CO.’S NOTICE OF REMOVAL OF ACTION
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                                     1   aboard U.S Naval vessels or in a Naval shipyard was manufactured under the
                                     2   direction and control of a federal officer. (See, generally, Declaration of Ret. Adm.
                                     3   Roger Horne, Exhibit 2 and the Declaration of Martin Kraft, Exhibit 3.)
                                     4   BUFFALO PUMPS manufactured and designed equipment sold to the Navy
                                     5   according to the precise, detailed specifications of the U.S. Navy. The United
                                     6   States Navy enforced compliance with those design specifications and no aspect of
                                     7   the design of that equipment escaped the close control of the United States Navy
                                     8   and its officers, including all aspects of warnings associated with the equipment.
                                     9   (Id.) Accordingly, BUFFALO PUMPS was acting under an officer or agent of the
                                    10   United States within the meaning of 28 U.S.C. § 1442(a)(1).
                                    11         7.     Legal Authorities. Should plaintiff file a motion to remand in this
                                    12   case, BUFFALO PUMPS requests an opportunity to respond more fully in writing,
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                                    13   but, for now, offers the following authorities:
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                                    14         8.     Removal is appropriate where, as here, the removing party (1) acted
                                    15   under the direction of a federal officer; (2) raises a colorable federal defense to
                                    16   plaintiff’s claims and (3) can demonstrate a causal nexus between plaintiff’s claims
                                    17   and the acts it performed under color of federal office. Mesa v. California, 489
                                    18   U.S. 121, 124-25 (1989).
                                    19         9.     In 2006, the Ninth Circuit unequivocally stated that “the Supreme
                                    20   Court has mandated a generous interpretation of the federal officer removal statute
                                    21   . . . [and] has held that the right of removal is absolute for conduct performed under
                                    22   color of federal office, and has insisted that the policy favoring removal should not
                                    23   be frustrated by a narrow, grudging interpretation of § 1442(a)(1).” Durham v.
                                    24   Lockheed Martin Corp., 445 F. 3d 1247, 1252 (9th Cir. 2006) (citations omitted).
                                    25   In light of the Durham court’s ruling, federal district courts in this Circuit have
                                    26   repeatedly interpreted section 1442 broadly in favor of removal where a
                                    27   manufacturer of equipment demonstrates that it acted under the direction of a
                                    28   federal officer, raises a colorable federal defense to plaintiff’s claims and

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                                         AIR & LIQUID SYSTEMS CORPORATION, SUCCESSOR BY MERGER TO BUFFALO PUMPS, INC.’S
                                                 (“BUFFALO”) JOINDER IN ELLIOTT CO.’S NOTICE OF REMOVAL OF ACTION
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                                     1   establishes a causal connection between its alleged action under the control of a
                                     2   federal officer and plaintiff’s claims. See, e.g., Ballenger v. Agco Corp., 2007 WL
                                     3   1813821 (N.D. Cal. June 22, 2007) (a copy of Judge Wilken’s Order is attached as
                                     4   Exhibit 4); Scanlon v. Asbestos Companies, et al. CV 10-7264-SVW (JCGx) (a
                                     5   copy of Judge Wilson’s Order is attached as Exhibit 5); Wright v. A.W Chesterton,
                                     6   Inc., CV 07-05403MJJ (a copy of Judge Jenkin’s Order is attached as Exhibit 6);
                                     7   Oberstar v. CBS Corp., CV 08-118PA (JWJx) (a copy of this order is attached as
                                     8   Exhibit 7); Jenkins v. Allied Packing and Supply, Inc. 09 CV101-DMS, (a copy of
                                     9   this order is attached as Exhibit 8).
                                    10         10.    As recognized in Boyle v. United Technologies Corp., 487 U.S. 500
                                    11   (1988), BUFFALO PUMPS has a federal defense to this action: i.e., government
                                    12   contractor immunity from liability for injuries arising from any exposure to
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                                    13   asbestos-containing equipment on board United States Navy vessels, or at U.S.
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     Gordon & Rees LLP




                                    14   Navy land based installations, insofar as they were manufactured or supplied by
                                    15   BUFFALO PUMPS. See also Carley v. Wheeled Coach, 991 F.2d 1117, 1123 (3d
                                    16   Cir. 1993); Kleeman v. McDonnell Douglas Corp., 890 F.2d 698, 700 (4th Cir.
                                    17   1989); Garner v. Santoro, 865 F.2d 629, 634 (5th Cir. 1991).
                                    18         11.    The government contractor defense is not limited to design defect
                                    19   causes of action, but also applies to failure to warn claims. Getz v. The Boeing Co.
                                    20   654 F. 3d 852, (9th Cir. Aug. 2, 2011); accord Oliver v. Oshkosh Truck Corp., 96
                                    21   F.3d 992, 1003 (7th Cir. 1996), cert. denied, 520 U.S. 1116 (1997. “[W]hen the
                                    22   government exercises its discretion and approves warnings intended for users, it
                                    23   has an interest in insulating its contractors from state failure to warn tort liability.”
                                    24   Tate v. Boeing Helicopters, 55 F.3d 1150, 1157(6th Cir. 1995). Thus, “[w]hen
                                    25   state law would otherwise impose liability for failure to warn, that law can be
                                    26   displaced when the contractor can show that: (1) the government exercised its
                                    27   discretion and approved certain warnings; (2) the contractor provided the warnings
                                    28   required by the government; (3) the contractor warned the government about the

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                                         AIR & LIQUID SYSTEMS CORPORATION, SUCCESSOR BY MERGER TO BUFFALO PUMPS, INC.’S
                                                 (“BUFFALO”) JOINDER IN ELLIOTT CO.’S NOTICE OF REMOVAL OF ACTION
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                                     1   dangers in the equipment’s use that were known to the contractor but not to the
                                     2   government.” Getz, 654 F. 3d at 866.
                                     3         12.    Similarly, In Kerstetter v. Pacific Scientific Co., 210 F. 3d 431, 438
                                     4   (5th Cir.) cert. denied 519 U.S. 919 (2000), the court held that the government
                                     5   contractor defense is available in “failure to warn” actions where the evidence
                                     6   shows that the lack of a warning reflects governmental direction and control rather
                                     7   than the unfettered discretion of the product’s manufacturer. As noted in
                                     8   Kerstetter, “[t]he government need not prepare the specifications to be considered
                                     9   to have approved them.” Id at 435. The only material issue is whether the
                                    10   manufacturer’s designs and specifications were subjected to “substantial review”
                                    11   rather than a mere “rubber stamp” approval. Id. Substantial review is established
                                    12   where there is evidence of a “continuous back and forth” between the contractor
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                                    13   and the government.” Id. In this regard, “[t]he specifications need not address the
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                                    14   specific defect alleged; the government need only evaluate the design feature in
                                    15   question.” Id. Applying these general principals to “failure to warn” claims, the
                                    16   fact that government specifications or regulations did not specifically preclude the
                                    17   exact warning desired by a plaintiff does not take a “failure to warn” claim outside
                                    18   the scope of a government contractor defense, so long as the government was
                                    19   generally involved in decisions relating to product warnings and was aware of the
                                    20   hazard in question. Id at 438.
                                    21         13.    Further, according to Ret. Admiral Roger Horne: “The Navy retained
                                    22   the final say over the design of any piece of equipment, and made the ultimate
                                    23   decision regarding how to resolve an engineering disagreement between the Navy
                                    24   and an outside supplier. Without prior discussion, approval and acceptance by the
                                    25   Navy, a warning related to asbestos hazards would not have been permitted.” See
                                    26   Exhibit 2, page 7 at ¶ 13.
                                    27         14.    “As a consequence of the foregoing, equipment, supplied for use
                                    28   aboard Navy vessels were manufactured pursuant to Navy specifications under

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                                         AIR & LIQUID SYSTEMS CORPORATION, SUCCESSOR BY MERGER TO BUFFALO PUMPS, INC.’S
                                                 (“BUFFALO”) JOINDER IN ELLIOTT CO.’S NOTICE OF REMOVAL OF ACTION
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                                     1   close supervision by personnel employed by the Navy, and approved for
                                     2   installation aboard these vessels exclusively by the Navy and its designated
                                     3   officers. Any warning purportedly required by state law would not have found its
                                     4   way into a ship as a permanent label on a pump or as a warning in accompanying
                                     5   written materials unless it had been required specifically in the specifications for
                                     6   the product that were issued by the Navy.” Id at ¶ 16.
                                     7         15.    As explained in the declaration of Martin Kraft: “In the design phase
                                     8   of the pump project, as in all other phases, the Navy retained ultimate decision
                                     9   authority over the design of the pumps.        If engineering disagreements arose
                                    10   between the Navy and an outside design consultant, the Navy controlled the design
                                    11   adopted. All pumps supplied by BUFFALO PUMPS to the Navy were built in
                                    12   accordance with the Navy specifications or other technical documentation
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                                    13   identified in applicable contract documents.” See Exhibit 3, page 3 at ¶ 8.
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                                    14         16.    In addition: “Navy specifications or other technical documents
                                    15   identified in applicable contract documents required BUFFALO PUMPS to submit
                                    16   for approval and acceptance by the federal government drafts of any manuals,
                                    17   drawings or other written materials required to be provided with regard to pumps it
                                    18   manufactured for the Navy. These requirements were far more detailed and
                                    19   stringent than those imposed by commercial customers. (Exhibit A at 3.5; 3.6;
                                    20   Exhibit B at 3.27; 3.28).” Id at ¶ 13.
                                    21         17.    This approval and acceptance process was not merely a process of
                                    22   submission by BUFFALO PUMPS of drawings and manuals. The Navy’s review
                                    23   encompassed all aspects of the technical manuals and other written materials
                                    24   submitted to it for approval in the pump design and manufacture process. Based
                                    25   on my experience and my review of historical materials, I am aware that the Navy
                                    26   required specific changes to the content and wording of manuals submitted by
                                    27   BUFFALO PUMPS and other naval equipment manufacturers. These changes
                                    28   included specific edits to cautionary and instructional language, and including

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                                         AIR & LIQUID SYSTEMS CORPORATION, SUCCESSOR BY MERGER TO BUFFALO PUMPS, INC.’S
                                                 (“BUFFALO”) JOINDER IN ELLIOTT CO.’S NOTICE OF REMOVAL OF ACTION
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                                     1   warnings and cautions. Examples of correspondence of this type are attached as
                                     2   Exhibit C.” Id at ¶ 14.
                                     3         18.    BUFFALO PUMPS is not required to notify and obtain the consent of
                                     4   any other defendant in this action in order to remove plaintiff’s action as a whole
                                     5   under 28 U.S.C. §1442(a)(l). Ely Valley Mines, Inc. v. Hartford Accident Indem.
                                     6   Co., 644 F.2d 1310, 1315 (9th Cir. 1981); Akin v. Ashland Chem. Co., 156 F.3d
                                     7   1030, 1034-35 (1998).
                                     8         19.    A properly removed case cannot be remanded for discretionary or
                                     9   policy reasons, such as allegations of related state cases or contentions that judicial
                                    10   economy compels remand. Thermitron Products, Inc. v. Hermansdorfer, 423 U.S.
                                    11   336, 343-44 (1976); Elrad v. United Life & Accident Ins. Co., 624 F. Supp. 742,
                                    12   743 (N.D. Ill. 1985).
633 West Fifth Street, 52nd Floor




                                    13         20.    BUFFALO PUMPS has attached those documents required by 28
    Los Angeles, CA 90071
     Gordon & Rees LLP




                                    14   U.S.C. section 1446(a) and (b) and the local rules of the United States District
                                    15   Court, Central District California, including a copy of the Summons and Complaint
                                    16   filed against it by the plaintiff. Exhibit 1.
                                    17         WHEREFORE, defendant BUFFALO PUMPS respectfully requests that the
                                    18   above action now pending against it in the Los Angeles County Superior Court, be
                                    19   removed to this Court.
                                    20   Dated: February 28, 2018                 GORDON & REES LLP
                                    21
                                    22                                            By: /s/ Glen R. Powell
                                                                                      MICHAEL J. PIETRYKOWSKI
                                    23                                                JAMES G. SCADDEN
                                                                                      GLEN R. POWELL
                                    24                                                Attorneys for Defendant AIR &
                                                                                      LIQUID SYSTEMS CORPORATION,
                                    25                                                successor by merger to BUFFALO
                                                                                      PUMPS, INC.
                                    26
                                    27
                                    28

                                                                                   -10-
                                         AIR & LIQUID SYSTEMS CORPORATION, SUCCESSOR BY MERGER TO BUFFALO PUMPS, INC.’S
                                                 (“BUFFALO”) JOINDER IN ELLIOTT CO.’S NOTICE OF REMOVAL OF ACTION
                          Case 2:18-cv-01575-CAS-E Document 14 Filed 02/28/18 Page 11 of 11 Page ID #:1891


                                       1                             CERTIFICATE OF SERVICE
                                                                       SIEGFRIED V. 3M COMPANY, ET AL.
                                       2                     USDC CENTRAL CALIF 2:18-CV- 01575 CAS-E
                                       3          I am a resident of the State of California, over the age of eighteen years, and
                                       4   not a party to the within action. My business address is: Gordon & Rees LLP, 633
                                           West Fifth Street, 52nd Floor, Los Angeles, CA 90071. On the date indicated
                                       5   below, I served the within document:
                                       6    AIR & LIQUID SYSTEMS CORPORATION, SUCCESSOR BY MERGER
                                             TO BUFFALO PUMPS, INC.’S (“BUFFALO”) JOINDER IN ELLIOTT
                                       7    COMPANY’S NOTICE OF REMOVAL OF ACTION PURSUANT TO 28
                                            U.S.C. SECTIONS 1442(a)(1) AND 1446(a) AND NOTICE OF REMOVAL
                                       8         OF BUFFALO; EXHIBITS 1-8; CERTIFICATE OF SERVICE
                                       9
                                            by placing the documents listed above in a sealed envelope with postage
                                      10      thereon fully prepaid, in United States mail in the State of California at
                                              Oakland, addressed as set forth below.
                                      11
                                            by  electronically serving the document(s) described above via LexisNexis
                                              File & Serve on the recipients designated on the Transaction Receipt that
                                      12      is located on the LexisNexis File & Serve website and as set forth below:
  633 West Fifth Street, 52nd Floor




                                      13    by  electronically serving the document(s) described above via United
      Los Angeles, CA 90071




                                              States District Court Electronic Case Filing website (CM/ECF notification
       Gordon & Rees LLP




                                      14      system) on the recipients designated on the electronic service list that is
                                              located on the Pacer website.
                                      15
                                      16
                                      17          I am readily familiar with the firm’s practice of collection and processing
                                           correspondence for mailing. Under that practice it would be deposited with the
                                      18   U.S. Postal Service on that same day with postage thereon fully prepaid in the
                                      19   ordinary course of business. I am aware that on motion of the party served, service
                                           is presumed invalid if postal cancellation date or postage meter date is more than
                                      20   one day after the date of deposit for mailing in affidavit.
                                      21
                                                  I declare under penalty of perjury under the laws of the State of California
                                      22   that the above is true and correct.
                                      23         Executed on February 28, 2018 at Los Angeles, California.
                                      24
                                      25                                                                 CfflflTClC



                                      26                                           _____________________________
                                                                                       ERIKA FACUNDO
                                      27
                                      28
26615344v.1

                                                                                    -11-
                                                                          CERTIFICATE OF SERVICE
                                                                        CASE NO. 2:14-cv-02583-GEB-AC
